                  Case 5:21-cv-01655-BLF Document 45 Filed 06/07/22 Page 1 of 5




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13                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION

15
     COUNTY OF SANTA CLARA, et al.,                   ) Case No. 5:21-cv-01655-BLF
16                                                    )
             Plaintiffs,                              ) JOINT STATUS REPORT AND STIPULATED
17                                                    ) REQUEST FOR ORDER CONTINUING STAY
        v.                                            )
18                                                    )
     U.S. DEPARTMENT OF HEALTH AND                    )
19   HUMAN SERVICES, et al.,                          )
                                                      )
20                                                    )
             Defendants.                              )
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22
             Pursuant to the Court’s Order of March 8, 2022, see ECF No. 43, the parties respectfully submit
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     the following joint status report addressing further proceedings, together with a stipulated request for an
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     order continuing the stay of this action through August 2, 2022.
25
             1.      This is an Administrative Procedure Act (“APA”) case in which Plaintiffs challenge a final
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     rule promulgated by the U.S. Department of Health and Human Services (“HHS”) entitled Securing
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     Updated and Necessary Statutory Evaluations Timely, 86 Fed. Reg. 5694 (2021) (the “SUNSET Rule”).
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     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
                  Case 5:21-cv-01655-BLF Document 45 Filed 06/07/22 Page 2 of 5




 1 The SUNSET Rule provides, in essential part, that nearly all regulations issued by HHS in Titles 21, 42,

 2 and 45 of the Code of Federal Regulations shall expire at the end of (1) five calendar years after the year

 3 that the SUNSET Rule first becomes effective, (2) ten calendar years after the year of the regulation’s

 4 promulgation, or (3) ten calendar years after the last year in which HHS assessed and, if required, reviewed

 5 the regulation, whichever is latest.

 6           2.      Plaintiffs filed their complaint challenging the SUNSET Rule on March 9, 2021. See ECF

 7 No. 1. Plaintiffs alleged that the SUNSET Rule is ultra vires, see id. ¶¶ 123-30; arbitrary and capricious,

 8 see id. ¶¶ 131-33; in violation of the APA’s notice-and-comment requirements, see id. ¶¶ 134-39; and in

 9 violation of HHS’s Tribal Consultation Policy, see id. ¶¶ 140-44. Plaintiffs further alleged that the

10 SUNSET Rule threatens imminent and irreparable harm to them and the general public, including by

11 creating regulatory confusion and uncertainty that will impede their ongoing operations, budgeting, and

12 planning activities. See, e.g., id. ¶¶ 100-02; see generally id. ¶¶ 95-122.

13           3.      As promulgated, the SUNSET Rule was scheduled to become effective on March 22, 2021.

14 See 86 Fed. Reg. at 5694. Shortly before the SUNSET Rule became effective, HHS postponed its effective

15 date for one year, to March 22, 2022, pursuant to 5 U.S.C. § 705. See 86 Fed. Reg. 15,404 (2021). On

16 October 28, 2021, HHS issued a Notice of Proposed Rulemaking proposing to withdraw or repeal the

17 SUNSET Rule. See 86 Fed. Reg. 59,906 (2021). In March 2022, HHS postponed the effective date of

18 the SUNSET Rule for an additional six months, to September 22, 2022. See 87 Fed. Reg. 12,399 (2022).

19           4.      On May 27, 2022, HHS issued a Final Rule withdrawing the SUNSET Rule as of the

20 effective date of July 26, 2022. See 87 Fed. Reg. 32246 (2022). If the Final Rule takes effect as scheduled,

21 this litigation may be unnecessary.

22           5.      The parties therefore jointly request that the Court continue the stay of this action through

23 August 2, 2022, and direct the parties to either stipulate to the dismissal of this action, or file a joint status

24 report proposing a schedule for further proceedings, by that date.

25 Date: June 7, 2022                                        Respectfully submitted,

26                                                           BRIAN M. BOYNTON
                                                             Principal Deputy Assistant Attorney General
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                                                             ERIC BECKENHAUER
28                                                           Assistant Branch Director
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     CASE NO. 5:21-CV-01655-BLF
             Case 5:21-cv-01655-BLF Document 45 Filed 06/07/22 Page 3 of 5




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     CASE NO. 5:21-CV-01655-BLF
             Case 5:21-cv-01655-BLF Document 45 Filed 06/07/22 Page 4 of 5




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11

12                                    LOCAL RULE 5-1(i) ATTESTATION

13         I attest that I have obtained Samara Spence’s concurrence in the filing of this document.
14                                              /s/ Steven A. Myers
15                                              Steven A. Myers

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     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
              Case 5:21-cv-01655-BLF Document 45 Filed 06/07/22 Page 5 of 5




 1                                           [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS SO ORDERED. The case shall remain STAYED through

 3 August 2, 2022, by which date the parties shall either stipulate to the dismissal of this action or submit a

 4 joint status report proposing a schedule for further proceedings.

 5
            June 7, 2022
 6 Dated: __________________________                     __________________________________
                                                         HON. BETH LABSON FREEMAN
 7                                                       UNITED STATES DISTRICT JUDGE
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